                   Case 1:19-cv-05053-JMF Document 54-1 Filed 02/06/20 Page 1 of 8

 Julian

 From:                            Julian <jbirnbaum@eisenbergschnell.com   >
 Sent:                            Thursday, January 30,2020 5:33 PM
 To:                              'Severin, Johane'
 Cc:                              .HERBERT
                                              EISENBERG'
 Subject:                         RE:   Sadat v. SUNY Upstate



 Dear Johane,

          Thank you for your prompt reply. We address your points in order.

            1.   While willing to receive comparator information requested, first for anesthesia residents as soon
 as possible since they have been identified, we cannot agree to limit comparators to only anesthesia
 residents. All SUNY residents are subject to the same applicable laws, the same Upstate policy and
 procedures regarding leaves, the same HR policies and procedures, the same Upstate GME Office policies
 and procedures, and compliance with ACGME requirements.

         We cannot agree to limit the comparator information to only FMLA or FMlA-related leaves. As you
know, this is not an FMLA case. There is no reason to treat that kind of leave differently from disability,
military, and other leaves or interruptions in situations of continuing residency training. Each type of resident
leave of absence, as well as each respective resident medical specialty, is subject to the above policies. Each
generates HR employment related documentation. Presumably, HR tracks non-FMLA leaves as well since
those impact employment as well as training. lf the first identification of other residents who took leave can
come from HR (similar to your requesting our "agreeing that the GME Office would pull only the files of
residents who were granted FMlA-related leave through HR)," then HR could first identify the other leaves so
that the GME Office would have to pull only those files rather than the entire universe of 600 or so residents.

         We served these requests November 19,2019. Because the deposition schedule now looks like March
when your deponents are available, we must resolve this discovery issue now to obtain this information and
 conduct depositions or other discovery within the Court ordered discovery period. Please let us know by
 Monday whether you will provide the requested comparator information so that if necessary we can seek
judicial intervention. lf you will not produce the other requested information that we raised in our letter to the
Court dated January 14,2020 at 1, to which you objected in your letter dated January 17,2020 at 1-2, we
intend to seek a decision from Judge Furman for those requests also.

        We would agree to limit the time period to the 2013-14 academic year when Dr. Sadat commenced
training in anesthesia through the 2017-18 academic year when he could have completed his residency.

          2.     We willfind out Dr. Sadat's availability the week of March 16 and other dates.

          3.     With respect to other deposition dates,

                 we propose Dr. Thomas and Dr. Lopez for March 17;

                 we propose the Syracuse depositions for March 19 and 20;

                 please identify the R. 30(bXO) deponent(s) and let us know their earliest availability. We would
like to take that deposition first.

                                        Redacted for Confidential Mediation


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                                                                                   Exhibit A
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                                           Redacted for Confidential Mediation




Julian and Herb

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From: Severin, Johane <Johane.Severin@ag.ny.gov>
Sent: Wednesday, January 29,2O2O 7:39 PM
To: J u lian <jbirnba u m @eisen be rgschnell.com>
Cc:'HERBERT EISENBE RG' <heisenberg@eisenbergschnell.com>
Subject: RE: Sadat v. SUNY Upstate

Dear Herb and Julian   -
Thank you for your correspondence

    1.   To give us a sense of the potential sample size, SUNY provided a list of medical residents who took FMLA-related
         leave in 2AL6/20I7 and 2OL712018. This was the number I shared with Julian.


         My understanding is that HR's list was easier to compile because it regularly maintains reports with this
         information. The Graduate Medical Education Office, however, has to manually pull every resident's file to
         determine who took a leave of absence and why. Because there are approximately 600 residents in SUNy
         Downstate's residency programs, the GME Office was only able to provide leave information for residents in the
         anesthesiology program for that time period

         So that we can get you the information you seel< as soon as possible, would you consider (a) narrowing your
         request by limiting the number of years you seek and (b) agreeing that the GME Office would pull only the files
         of residents who were granted FMLA-related leave through HR?



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     (a) Asforthedaterange,sinceDr.Sadattookaleaveofabsencein2015,perhapswecangotwoyearsback
         (i.e. the 2OI3/2O14 academic year)and two years forward (i.e. the 2017/2015 academic year)?

     (b) lt is myunderstanding that residents take leaves of absence from the program for reasons that are
         unrelated to the FMLA. Such reasons include military-related leave (as listed in your definitions) and delays
         related to immigration status (delays in visa issuance, for example). Would you consider limiting your
         requests to FMLA-related leaves of absence? This way, the GME Office can'pull the files of the residents who
         appear on HRis FMLA list and we would be looking at Dr. Sadat's direct comparators.

2.   I amnot prepared to depose Dr. Sadat on February 2L't. What is Dr. Sadat's availability in March? My preference
     would be the week of March 16th.

3.   Dr. Thomas has asked that his deposition be scheduled in March. He has to cover a nupber of shifts because of
     a staff shortage in the anesthesiology department in February and he will be out of the country the last week in
     February. He has represented to me that he will have much more flexibility in early March because he will have
     fewer professional obligations. I am available the week of March     2nd,   March 13th, and the week of March   l-6th.


     I can ask Dr. Lopez about his availability on February 20th. I suspect that date is likely to be a challenge given the
     above-referenced staff shortage and his attendance at yesterday's mediation. Are there other dates that you
     can propose?

     I have another deposition scheduled February 28th and will not be available on that date. Traveling to Syracuse
     that week will be a challenge for me as well because I have prep sessions already scheduled.

     Iwould like to point out that, when I first informed you that I would seek an extension from the court, we
     agreed that we would hold dates the weeks of February 10th and the 17th for depositions just in case the
     extension was not granted. At the time, I explained the issue regarding the staff shortage and even asked that
     we try to accommodate Dr. Zhang. After the Court granted my request for an extension, you told me that you
     were speaking with court reporters and trying to make the necessary arraignments to take the depositions. We
     agreed to talk again and identify dates that work for us and l, in turn, would inquire about the deponents'
     availability based on the dates we had identified. ln that spirit, would you consider deposing Drs. Lopez and
     Thomas some time the first week in March (or later) and deposing the non-parties the week of March L6th or the
     23'd (or a bit later)?




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                                             Redacted for Confidential Mediation




 I look   forward to hearing back from you,

Johane Severin I Assistant Attorney General
New York State Office of the Attorney General
28 Liberty Street I New York, NY 10005
T el: (2L2\ 41 6-8565 | Joha ne.Severin (oag. ny.gov



From: Julian     <ibirnbaum@eisenb            >
Sent: Wednesday, January 29,2O2O 5:33 PM
To: Severin, Johane <Johane.Severin@ag. ny.gov>
Cc:'HERBERT EISENBERG' <heisenbers@eisen bereschnell.com>
Subject: Sadat v. SUNY Upstate

ItexrrnHnul
Hi, Johane,


Please see attached    -   thanks.

Julian and Herb

Julian R. Birnbaum
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                                                         EISENBERG & SCHNELL rrp
                                                                                            ATTORNEYS AT LAW


                                                                                                   HERBERT EISENBERG
  I3y e-rnail
                                                                                                     LAURA S. SCHNELL

                                                                                                   JULIAN R, BIRNBAUM
                                                         January 29,2420
                                                                                                             Of Counsel

 Johanc Severin, Esq.
 Assistant Attorney General
 Office of the New York State Attorney General
 28 Liberty Street
 New York, New York 10005

          Re:    Suclut t,. SUNY Upstate   Macliul Univusit.t',   et   gl.,No.19 cv 5053 (,IN|F)

 Dear Johane,

         We write regarding several discovery itenis

         1. As the Court has entered the Confidentiality Stipulation and Protective Order
 ("Order"), please produce the documents that you previously stated would be provided upon
 entry of the Order as soon as possible. We need these documents to prepare and to enable us to
 proceed with depositions as proposed below.

         2. With respect to the comparator    documents on which the Court did not rule, we
reiterate our request for those in light of the additional protections under the Order and your
detail that there were a relatively small number of leaves of absence. Accordingly, this
inflormation should be manageable to provide.

        3, You   noticed Dr. Sadat's deposition for February 21,2020. Please let us know if that
date is still good for you. We will rnake certain that he can appear then and confirm with you.


      4. We propose February 20 for the depositions of Dr. Thomas and Dr. Lopez in New
York City. We believe these depositions will not take more than half a day each.

        5. With respect to the depositions of non-party witnesses, we agree to take those in
Syracuse. We propose Februaly 27 and28 to take as rnany of those as we call on those dates.
Please let us know as soon as possible which deponents are available on those dates, and we will
make arrangements As soon as we confirm the dates, we will overnight deposition subpoenas to
Mr. Sierotnik for accepted service.

                                                                                         THE WOOLWORTH BUITDING
                                                                                         233 EROADWAY, SUITE 2ZO4
                                                                                         NEW YORK, NEW YORK IO27?

                                                                                               PHONE 212.966.8900
                                                                                               FAX       212.966.25As
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Johane Severin, Esq.
January 29,2020
PageZ


       6. We will deliver tomon'ow the remaining medical records received for Dr. Sadat, nos.
Sadat 258 - 28L. Plaintiff designates these and his other previously produced medical records
nos. Sadat 174-253 as "Confidential" documents.




                         Redacted for Confidential Mediation




                                                   Sincerely



                                                                  {C,J*ft,J
                                                    ulian R. Bimbaum
                                                   Herbert Eisenberg




                                                                 EISENBERG a SCHNELL            t-t-p
                 Case 1:19-cv-05053-JMF Document 54-1 Filed 02/06/20 Page 7 of 8

 Julian

 From:                           Julian <jbirnbaum@eisenbergschnell.com   >
 Sent:                           Monday, December 30,20L9 12:43 PM
 To:                             'Severin, Johane'
 Cc:                             'HERBERT EISENBERG'
 Subject:                        Sadat v. SUNY discovery



 Dear Johane:

        Following our meet and confer telephone discussion on December 26, we request you look at the
following authority to reconsider defendants' refusal to produce information regarding its selection standards
and process, and comparators information for other anesthesia and other programs residents, and your
proposal to designate such information as "highly confidential" so that plaintiff may not see it.

         Both selection process and standards, and comparators information, are proper subjects of discovery
despite defendants' objections surrounding the confidential nature of such information. See, e.g., Univ. of Pa.
v. EEOC,493 U.S. 182,193 (1990); Grutterv. Bollinger,539 U.S. 306 (2003). Plaintiff's need forthis
information in order to prosecute his claims, and defendants' defense that Dr. Sadat did not merit readmission,
put this information at issue in a discrimination case and outweigh confidentiality interests. See, e.9., Adkins v.
Christie,488 F.3d 1324, 1329-31 (11th Cir. 2007).
         Comparison to others is a well settled method of showing discriminatory disparate treatment. See, e.9.,
 McDonnell Douglas Corp. v. Green,411 U.S. 792,804 (1973); Reeyes y. Sanderson Plumbing Prods.,530
 U.S. 133, 147 (2000) (treatment of comparators relevant to probity of defendants' explanation of its actions and
 reasons); Carris v. First Student, |nc.,682 Fed. Appx. 30, 32-33 (2d Cir. 2017) (summary order) (factual
development necessary to determine comparability); Vuona v. Merrill Lyncy & Co., No. 10 Civ. 6529 (PAE),
2011 U.S. Dist. LEXIS 131491, *12 (S.D.N.Y. Nov. 15,2011) (discovery helps identify proper
comparators). Whether comparators are similarly situated is a question of fact. Graham v. Long lsland Rail
 Road,230 F.3d 34, 39 (2d Cir. 2000). Residents in other medical specialty programs are proper
comparators. See, e.9., Adkins, 488 F.3d at 1329-31 (comparison to all physicians in hospital proper where
infractions arose from hospital-wide rules and plaintiff entitled to compare general standard for physicians and
context of larger disciplinary practices of hospital in order to establish different treatment); Varughese v. Mt.
 Sinai Med. Cfr., No. 12Civ.8812 (CM) (JCF),2015 U.S. Dist. LEXIS 43758,.135 (S.D.N.Y. March 27,2015)
(other resident or doctor who behaved in same way as physician plaintiff would be similarly situated in respect
to comparison of positions), aff'd on other grounds,2017 U.S. App. LEXIS 12123,2017 WL 2889483 (2d Cir.
July 7, 2017); Jauhari v. Sacred Heart Univ., /nc., No. 3:16CV00680 (AWT), 2017 U.S. Dist. LEXIS 29441 , *9-
12, 16-17 (D.Ct. March 2,2017) (professor granted discovery of applicants in other departments).
          We ask that defendants provide authority for their proposed refusal to let Dr. Sadat see such
information. Defendants have failed to show why the information should not be disclosed. The terms of
plaintiff's proposed confidentiality order are sufficient protection against any improper disclosure. There is no
legitimate rationale to restrict plaintiff. Garner v. City of New York, No. 17-CV-843 (JGK) (KNF), 2018 U.S.
Dist. LEXIS 180072, *15-16 (S.D.N.Y. Oct. 17,2018) (where good cause not established to issue protective
order no basis exists for restricting plaintiff's access on attorneys'-eyes-only basis). Preventing plaintiff's
access will unduly interfere with his ability to prosecute his case and assist counsel in preparation of the case,
which involves technical and medical issues. See, e.9., Gryphon Dom. Vl, LLC v. APP lntl. Fin. Co., 8.V.,28
A.D.3d 322,325-26 (1st Dept. 2006) (designation of attorneys' eyes only prevents counsel from fully
discussing with clients all relevant information to properly present case); New York City Bar Committee Report,
"Highly Confidential - Attorney's Eyes Only" Designations: Comments, Nov. 22,2019,
https://www.nycbar.org/member-and-career-services/committees/repods-listing/reports/detail/highly-
confidential-attorneys-eyes-on ly-desig nations-com ments).
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             Therefore, we request defendants reconsider their refusal
             Thank you              -   and Happy New Year!

Herb and Julian

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